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                                                April 7, 2025

Via CM/ECF
Office of the Clerk
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

          Re:        Atlas Data Privacy Corp. et al. v. First Direct, Inc. et al.
                     3d Cir. Docket No. 25-8013
                     D.N.J. Docket No. 1:25-cv-01480-HB

Dear Sir or Madam:

        This firm represents First Direct, Inc., the Defendant-Petitioner in the above-captioned
matter. In accordance with the Court’s April 4, 2025 Order (ECF No. 8) granting First Direct
permission to appeal under 28 U.S.C. § 1292(b), we are writing to inform the Court that First Direct
has paid the docketing and filing fees to the United States District Court for the District of New
Jersey (Receipt No. TRE143392).

          We thank the Court for its time and attention to this matter.

                                                       Respectfully,

                                                       /s/ Andrew W. Sheppard

                                                       Andrew W. Sheppard

AWS
cc: All counsel of record (via CM/ECF)




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